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IN THE UNITED STATES DISTRICT COURT

 

WESTERN DISTRICT 0F TENNESSEE 85 AUG 29 PH 5= 03
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EDGAR MCDANIEL,

Plaimiff.
v. Case No.: 04-2667-B P

AMERICAN GENERAL FINANCIAL
SERVICES INC., AMERICAN UNICORN,
INC. d/b/a HOl\/IE STORE COMPANY,
TRI-STATE TITLE & ESCROW and
HAYSE NELSON,

Defendants.

 

ORDER GRANTING UNOPPOSED MOTION TO AMEND ANSWER
BY DEFENDANT, AMERICAN GENERAL FINANCIAL SERVICES, INC.

 

Before the Court is the Unopposed Motion to Amend Answer by Defendant, Amen`can
General Financial Services, Inc. ("American General"), pursuant t0 Rule 15 of the Federal Rules
of Civil Procedure. The Court hereby finds that the Motion is well taken and should be granted

IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED that Amen`can General
shall have leave to amend its answer in this matter, and that the Arnended Answer filed by
American General on August 12, 2005 shall be accepted

IT IS SO ORDERED this 02 § day of August, 2005.

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UNITED STATES BI'S:F'R'I€-T JUDGE
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Thl's document entered en the docketsheet in compliance

with sine 53 and/or 79(5) FHCP on 3 13 0 ' s> S" (Dq

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Notice of Distribution

This notice confirms a copy of the document docketed as number 69 in
case 2:04-CV-02667 Was distributed by faX, mail, or direct printing on
August 30, 2005 to the parties listed.

 

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Honorable J. Breen
US DISTRICT COURT

